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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                   EVANSVILLE DIVISION

 ASSUREDPARTNERS NL, LLC,                         )    Case No. 3:18-cv-00111-RLY-MPB
                                                  )
                        Plaintiff,                )
                                                  )
        vs.                                       )
                                                  )
 EPIC INSURANCE SOLUTIONS AGENCY                  )    Defendant Epic Insurance Solutions Agency
 LLC AND DAN DAVIS                                )    LLC’s Answer to Plaintiff’s First Amended
                                                  )    Complaint
                        Defendants.


        Defendant Epic Insurance Solutions Agency LLC (“Defendant” or “Epic”), by and through

 its undersigned counsel, hereby answers Plaintiff’s Complaint as follows:

                                     JURISDICTION AND VENUE

        1.      Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 1 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 1 of Plaintiff’s Complaint.

        2.      Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 2 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 2 of Plaintiff’s Complaint.

        3.      Defendant admits the allegations contained the first sentence of Paragraph 3 of

 Plaintiff’s Complaint. Defendant denies the allegations contained in the second sentence of

 Paragraph 3 of Plaintiff’s Complaint. Defendant admits the allegations contained in the third

 sentence of Paragraph 3 of Plaintiff’s Complaint, but denies the remaining allegations contained in

 Paragraph 3 of Plaintiff’s Complaint.

        4.      Defendant denies the allegations contained in Paragraph 4 of Plaintiff’s Complaint.

        5.      Defendant admits the allegations contained in the first three sentences of Paragraph 5

 of the Complaint. The remaining allegations contained in Paragraph 5 of the Complaint constitute
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 legal conclusions to which no response is necessary. To the extent a response is necessary, Defendant

 denies it has committed any wrongdoing that would subject it to the jurisdiction of this Court.

        6.      Defendant admits that Dan Davis is a former employee of AssuredPartners and is

 currently employed by Epic. Defendant admits, upon information and belief, that Davis is a resident

 of Newburgh, Indiana, but denies the remaining allegations contained in Paragraph 5 of Plaintiff’s

 Complaint.

        7.      The allegations contained in Paragraph 7 contain legal conclusions to which no

 response is necessary.    To the extent a response is required, Defendant denies the allegations

 contained in Paragraph 7 of the Complaint.

        8.      The allegations contained in Paragraph 8 contain legal conclusions to which no

 response is necessary.    To the extent a response is required, Defendant denies the allegations

 contained in Paragraph 8 of the Complaint.

        9.      The allegations contained in Paragraph 9 contain legal conclusions to which no

 response is necessary.    To the extent a response is required, Defendant denies the allegations

 contained in Paragraph 9 of the Complaint.

                                            THE PARTIES

        10.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 10 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 10 of Plaintiff’s Complaint.

        11.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 11 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 11 of Plaintiff’s Complaint.

        12.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 12 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 12 of Plaintiff’s Complaint.

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        13.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 13 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 13 of Plaintiff’s Complaint.

        14.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 14 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 14 of Plaintiff’s Complaint.

        15.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 15 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 15 of Plaintiff’s Complaint.

        16.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 16 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 16 of Plaintiff’s Complaint.

        17.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 17 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 17 of Plaintiff’s Complaint.

        18.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 18 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 18 of Plaintiff’s Complaint.

        19.     Defendant admits the first sentence contained in Paragraph 19, but denies the second

 sentence contained in Paragraph 19 of Plaintiff’s Complaint. Defendant admits the third sentence of

 Paragraph 19 of the Complaint.

        20.     Defendant admits the allegations contained in Paragraph 20 of Plaintiff’s Complaint.

        21.     Defendant admits the first sentence of the Paragraph 21 of the Complaint. Defendant

 denies the remaining allegations contained in Paragraph 21.



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        22.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in the first sentence of Paragraph 22 of Plaintiff’s Complaint.

 Defendant admits the allegations contained in the second sentence of Paragraph 22, but is without

 knowledge or information sufficient to form a belief as the remaining allegations contained in

 Paragraph 22 of Plaintiff’s Complaint.

        23.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 23 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 23 of Plaintiff’s Complaint.

        24.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 22 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 22 of Plaintiff’s Complaint.

        25.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 25 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 25 of Plaintiff’s Complaint.

        26.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 26 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 26 of Plaintiff’s Complaint.

        27.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 27 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 27 of Plaintiff’s Complaint.

        28.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 28 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 28 of Plaintiff’s Complaint.




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        29.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 29 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 29 of Plaintiff’s Complaint.

        30.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 30 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 30 of Plaintiff’s Complaint.

  DAVIS’S BREACH OF CONFIDENTIALITY OBLIGATIONS, MISAPPROPRIATION OF

                        TRADE SECRETS, AND DEALINGS WITH EPIC

        31.     Defendant denies the first sentence of Paragraph 31 of Plaintiff’s Complaint.

 Defendant is without knowledge or information sufficient to form a belief as to the truth of the

 remaining allegations contained in Paragraph 31 of Plaintiff’s Complaint.

        32.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 32 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 32 of Plaintiff’s Complaint.

        33.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 33 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 33 of Plaintiff’s Complaint.

        34.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 34 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 34 of Plaintiff’s Complaint.

        35.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 35 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 35 of Plaintiff’s Complaint.




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        36.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 36 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 36 of Plaintiff’s Complaint.

        37.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 37 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 37 of Plaintiff’s Complaint.

        38.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 38 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 38 of Plaintiff’s Complaint.

        39.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 39 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 39 of Plaintiff’s Complaint.

        40.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 40 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 40 of Plaintiff’s Complaint.

        41.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 41 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 41 of Plaintiff’s Complaint.

        42.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 42 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 42 of Plaintiff’s Complaint.

        43.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 43 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 43 of Plaintiff’s Complaint.



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         44.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 44 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 44 of Plaintiff’s Complaint.

         45.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 45 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 45 of Plaintiff’s Complaint.

         46.     Defendant admits it hired Davis in April 2018, but denies the remaining allegations

 contained in the first sentence of Paragraph 46 of Plaintiff’s Complaint. Defendant admits the

 second sentence of Paragraph 46 of Plaintiff’s Complaint.

         47.     Defendant denies the allegations contained in Paragraph 47 of Plaintiff’s Complaint.

         48.     Defendant denies the allegations contained in Paragraph 48 of Plaintiff’s Complaint.

         49.     Defendant denies the allegations contained in Paragraph 49 of Plaintiff’s Complaint.

         50.     Defendant denies the allegations contained in Paragraph 50 of Plaintiff’s Complaint.

         51.     Defendant denies the allegations contained in Paragraph 51 of Plaintiff’s Complaint.

         52.     Defendant denies the allegations contained in Paragraph 52 of Plaintiff’s Complaint.

         53.     Defendant denies the allegations contained in Paragraph 53 of Plaintiff’s Complaint.

         54.     Defendant denies the allegations contained in Paragraph 54 of Plaintiff’s Complaint.

                                      FIRST CAUSE OF ACTION

                  Violation of the Defend Trade Secrets Act 18 U.S.C. 1832 et seq.

         55.     Defendant incorporates by reference it answers to Paragraphs 1 through 54 of the

 Complaint as if set forth fully herein.

         56.     Defendant denies the allegations contained in Paragraph 56 of Plaintiff’s Complaint.

         57.     Defendant denies the allegations contained in Paragraph 57 of Plaintiff’s Complaint.

         58.     Defendant denies the allegations contained in Paragraph 58 of Plaintiff’s Complaint.

         59.     Defendant denies the allegations contained in Paragraph 59 of Plaintiff’s Complaint.

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         60.     Defendant denies the allegations contained in Paragraph 60 of Plaintiff’s Complaint.

         61.     Defendant denies the allegations contained in Paragraph 61 of Plaintiff’s Complaint.

         62.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 62 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 62 of Plaintiff’s Complaint.

         63.     Defendant denies the allegations contained in Paragraph 63 of Plaintiff’s Complaint.

         64.     Defendant denies the allegations contained in Paragraph 64 of Plaintiff’s Complaint.

         65.     Defendant denies the allegations contained in Paragraph 65 of Plaintiff’s Complaint.

         66.     Defendant denies the allegations contained in Paragraph 66 of Plaintiff’s Complaint.

         67.     Defendant denies the allegations contained in Paragraph 67 of Plaintiff’s Complaint.

         68.     Defendant denies the allegations contained in Paragraph 68 of Plaintiff’s Complaint.

         69.     Defendant denies the allegations contained in Paragraph 69 of Plaintiff’s Complaint.

         70.     Defendant denies the allegations contained in Paragraph 70 of Plaintiff’s Complaint.

                                    SECOND CAUSE OF ACTION

               Violation of the Indiana Uniform Trade Secrets Act by Davis and Epic

         71.     Defendant incorporates by reference it answers to Paragraphs 1 through 70 of the

 Complaint as if set forth fully herein.

         72.     Defendant denies the allegations contained in Paragraph 72 of Plaintiff’s Complaint.

         73.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 73 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 73 of Plaintiff’s Complaint.

         74.     Defendant denies the allegations contained in Paragraph 74 of Plaintiff’s Complaint.

         75.     Defendant denies the allegations contained in Paragraph 75 of Plaintiff’s Complaint.

         76.     Defendant denies the allegations contained in Paragraph 76 of Plaintiff’s Complaint.

         77.     Defendant denies the allegations contained in Paragraph 77 of Plaintiff’s Complaint.

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         78.     Defendant denies the allegations contained in Paragraph 78 of Plaintiff’s Complaint.

         79.     Defendant denies the allegations contained in Paragraph 79 of Plaintiff’s Complaint.

         80.     Defendant denies the allegations contained in Paragraph 80 of Plaintiff’s Complaint.

         81.     Defendant denies the allegations contained in Paragraph 81 of Plaintiff’s Complaint.

         82.     Defendant denies the allegations contained in Paragraph 82 of Plaintiff’s Complaint.

         83.     Defendant denies the allegations contained in Paragraph 83 of Plaintiff’s Complaint.

         84.     Defendant denies the allegations contained in Paragraph 84 of Plaintiff’s Complaint.

         85.     Defendant denies the allegations contained in Paragraph 85 of Plaintiff’s Complaint.

                                     THIRD CAUSE OF ACTION

                                   Breach of Contract against Davis

         86.     Defendant incorporates by reference it answers to Paragraphs 1 through 85 of the

 Complaint as if set forth fully herein.

         87.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 87 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 7 of Plaintiff’s Complaint.

         88.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 88 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 88 of Plaintiff’s Complaint.

         89.     Defendant is without knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in Paragraph 89 of Plaintiff’s Complaint. Therefore, Defendant

 denies the allegations contained in Paragraph 89 of Plaintiff’s Complaint.

         90.     Defendant denies the allegations contained in Paragraph 90 of Plaintiff’s Complaint.

         91.     Defendant denies the allegations contained in Paragraph 91 of Plaintiff’s Complaint.

         92.     Defendant denies the allegations contained in Paragraph 92 of Plaintiff’s Complaint.

         93.     Defendant denies the allegations contained in Paragraph 93 of Plaintiff’s Complaint.

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                                     FOURTH CAUSE OF ACTION

                           Tortious Interference with Contract Against Epic

          94.     Defendant incorporates by reference it answers to Paragraphs 1 through 93 of the

  Complaint as if set forth fully herein.

          95.     Defendant denies the allegations contained in Paragraph 95 of Plaintiff’s Complaint.

          96.     Defendant denies the allegations contained in Paragraph 96 of Plaintiff’s Complaint.

          97.     Defendant denies the allegations contained in Paragraph 97 of Plaintiff’s Complaint.

          98.     Defendant denies the allegations contained in Paragraph 98 of Plaintiff’s Complaint.

          99.     Defendant denies the allegations contained in Paragraph 99 of Plaintiff’s Complaint.

          100.    Defendant denies the allegations contained in Paragraph 100 of Plaintiff’s Complaint.

          101.    Defendant denies the allegations contained in Paragraph 101 of Plaintiff’s Complaint.

          102.    Defendant denies the allegations contained in Paragraph 102 of Plaintiff’s Complaint.

          103.    Defendant denies the allegations contained in Paragraph 103 of Plaintiff’s Complaint.

          104.    Defendant denies the allegations contained in Paragraph 104 of Plaintiff’s Complaint.

          105.    Defendant denies the allegations contained in Paragraph 105 of Plaintiff’s Complaint.

          106.    Defendant denies the allegations contained in Paragraph 106 of Plaintiff’s Complaint.

          107.    Defendant denies the allegations contained in Paragraph 107 of Plaintiff’s Complaint.

          108.    Defendant denies the allegations contained in Paragraph 108 of Plaintiff’s Complaint.

          109.    Defendant denies the allegations contained in Paragraph 109 of Plaintiff’s Complaint.




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                                      FIFTH CAUSE OF ACTION

                         Breach of Fiduciary Duty and Duty of Loyalty against
                                                Davis

          110.    Defendant incorporates by reference it answers to Paragraphs 1 through 109 of the

  Complaint as if set forth fully herein.

          111.    Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in Paragraph 111 of Plaintiff’s Complaint. Therefore, Defendant

  denies the allegations contained in Paragraph 111 of Plaintiff’s Complaint.

          112.    Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in Paragraph 112 of Plaintiff’s Complaint. Therefore, Defendant

  denies the allegations contained in Paragraph 112 of Plaintiff’s Complaint.

          113.    Defendant denies the allegations contained in Paragraph 113 of Plaintiff’s Complaint.

          114.    Defendant denies the allegations contained in Paragraph 114 of Plaintiff’s Complaint.

          115.    Defendant denies the allegations contained in Paragraph 115 of Plaintiff’s Complaint.

                                      SIXTH CAUSE OF ACTION

                                 Civil Conspiracy against all Defendants

          116.    Defendant incorporates by reference it answers to Paragraphs 1 through 115 of the

  Complaint as if set forth fully herein.

          117.    Defendant denies the allegations contained in Paragraph 117 of Plaintiff’s Complaint.

          118.    Defendant denies the allegations contained in Paragraph 118 of Plaintiff’s Complaint.

          119.    Defendant denies the allegations contained in Paragraph 119 of Plaintiff’s Complaint.

          120.    Defendant denies the allegations contained in Paragraph 120 of Plaintiff’s Complaint.




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                                     SEVENTH CAUSE OF ACTION

                                  Unjust Enrichment by All Defendants

          121.    Defendant incorporates by reference it answers to Paragraphs 1 through 120 of the

  Complaint as if set forth fully herein.

          122.    Defendant denies the allegations contained in Paragraph 122 of Plaintiff’s Complaint.

          123.    Defendant denies the allegations contained in Paragraph 123 of Plaintiff’s Complaint.

          124.    Defendant denies the allegations contained in Paragraph 124 of Plaintiff’s Complaint.

          125.    Defendant denies the allegations contained in Paragraph 125 of Plaintiff’s Complaint.

          126.    Defendant denies the allegations contained in Paragraph 126 of Plaintiff’s Complaint.

          127.    Defendant denies all allegations not specifically admitted herein.

                                      AFFIRMATIVE DEFENSES

          1.      The Complaint fails to state a claim against Epic Insurance Solutions Agency LLC

  upon which relief can be granted.

          2.      Plaintiff’s claims are barred in whole or in part by the applicable statute of

  limitations.

          3.      Plaintiff’s claims are barred in whole or in part by Plaintiff’s failure to mitigate its

  alleged damages.

          4.      Plaintiff’s claims are barred in whole or in part by the doctrines of unclean hands,

  waiver, estoppel, and/or laches.

          5.      Plaintiff is not entitled to recover punitive damages for constitutional, statutory, and

  common law reasons.

          6.      Plaintiff’s alleged damages are speculative and, therefore, unavailable as a matter of

  law.

          7.      Plaintiff’s alleged damages are subject to offset.



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           8.     Plaintiff’s claims are barred in whole or in part due to Plaintiff’s own material

  breaches of the Agreement.

           9.     Plaintiff’s claims are barred in whole or in part by virtue of the unreasonableness or

  unenforceability of the Agreement.

           10.    Epic Insurance Solutions Agency LLC reserves the right to assert additional

  affirmative defenses as they become known and as discovery in this matter is ongoing.

           WHEREFORE, Defendant respectfully request that this Court enter judgment in its favor,

  dismiss the Complaint with prejudice, award Defendants their attorneys’ fees, and provide all other

  just relief.

                                                         Respectfully submitted,

                                                         J. Corey Asay
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                                                         Attorneys for Defendants




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                                     CERTIFICATE OF SERVICE

          I hereby certify that on August 15, 2018, I electronically filed the foregoing with the Clerk of

  the Court using the CM/ECF system which will send notification of such filing to the following:

          Todd J. Kaiser, Esq.
          111 Monument Circle, Suite 4600
          Indianapolis, Indiana 46204
          Todd.kaiser@ogletree.com


                                                          J. Corey Asay
                                                          Counsel for Defendants

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